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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
          v.                                 ) CASE NO.: 1:11-cr-0082-TWP-KPF
                                             )
RAFEAL MUNOZ-CARDENAS,                       )                 -01
                                             )
       Defendant.                            )

                            REVIEW OF DETENTION ORDER

       This matter is before the Court for a ruling on the Motion for Revocation of Detention
Order (Dkt. 39), filed by the Defendant on June, 8, 2011.


       Pursuant to 18 U.S.C.A. §3145(b), the District Court Judge has reconsidered the Motion
for Revocation of the Magistrate Judge’s Order of Detention, entered on April, 13, 2011. This
Court has reviewed the transcript (digital recording) of the record of proceedings held on April
13, 2011, reviewed the pretrial services report and recommendation of detention prepared by the
United States Probation Office, and has considered the Motion for Revocation filed by the
Defendant as well as the Government’s Response and the Defendant’s Reply.


       The Court finds the Government has met its burden of proof and offered sufficient
evidence to sustain a determination that the defendant poses a significant flight risk. Thed
efendant initially lied to the probation officer and claimed an address in California, but later
admitted that he has resided in Mexico for the past six years with his girlfriend and her four
children. Defendant has several siblings who also reside in Mexico. The defendant’s residential
ties in the United States are along the southwest border as his estranged wife, children, mother
and two siblings live in border towns in California. Defendant claimed to probation that he did
not have a passport, however, he passes over the international border with great frequency which
is not legally possible without a passport. In making a detention determination, the Court is
allowed to consider the nature and circumstances of the offense charged. At the time of his
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arrest, the defendant was in possession of a tractor trailer which contained $629,790.00 dollars in
suspected drug proceeds; these circumstances provide circumstantial evidence to the court that
defendant was in a position of trust with persons of great financial resources, which might aid in
a defendant’s flight. Unlike in his co-defendant’s case, there is no evidence before the Court that
defendant or his family own real estate for a recognizance bond with real property which can be
pledged as security or that a cash or surety bond could be posted so as to reasonably assure
defendant’s appearance at trial. Finally, Defendant himself has not maintained stable
employment and has no accounts or utilities in his name which would evidence stability and ties
to a community.


       Under Title 18, United States Code Section 3142, a defendant shall be detained upon a
showing, by a preponderance of the evidence, that no condition or combination of conditions will
reasonably assure the appearance of the defendant. The District Court’s de novo determination is
that the Government has met their burden and Defendant’s Motion for Revocation of Detention
and Review of the Magistrate Judge’s Order of Detention (Dkt. 39) is DENIED.



       SO ORDERED.

              06/13/2011
       Date: ____________.
                                                          ________________________
                                                          Hon. Tanya Walton Pratt, Judge
Distribution to:                                          United States District Court
                                                          Southern District of Indiana
Magistrate Judge Kennard P. Foster

United States Marshal Service

United States Probation Office

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